           Case 4:16-cv-00050-YGR           Document 251        Filed 01/05/18     Page 1 of 4




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12

13
                                    UNITED STATES DISTRICT COURT
14
                                  NORTHERN DISTRICT OF CALIFORNIA
15
      JAMAL RASHID TRULOVE,                             Case No. 16-cv-00050-YGR
16
             Plaintiff,                                 DECLARATION OF LINDA ALLEN IN
17                                                      SUPPORT OF DEFENDANTS’ MOTION FOR
             vs.                                        SUMMARY JUDGMENT
18
      THE CITY AND COUNTY OF SAN                        Hearing Date:           February 27, 2018
19    FRANCISCO, ET AL.,                                Time:                   2:00 p.m.
                                                        Place:                  Courtroom 1, 4th Floor
20           Defendants.                                                        1301 Clay Street
                                                                                Oakland, CA
21
                                                        Trial Date:             March 5, 2018
22

23

24
            I, Linda Allen, declare as follows:
25
     1. I am an Assistant District Attorney with the San Francisco District Attorney’s Office. I have
26
         personal knowledge of the facts contained herein, and if called upon to testify, would testify
27
         competently hereto.
28
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      Case No. 16-cv-00050-YGR
          Case 4:16-cv-00050-YGR           Document 251        Filed 01/05/18      Page 2 of 4




 1   2. I was assigned to the prosecution of Jamal Trulove for the murder of Seu Kuka shortly before the

 2      first trial in 2010. When assigned the case, I reviewed all of the evidence, and made an

 3      independent determination that the evidence supported the prosecution. I did not rely on any

 4      representation by any officer regarding the meaning of the evidence, but rather made my own

 5      independent determination.

 6   3. I was aware of the circumstances regarding Ms. Lualeamaga’s identification of Joshua Bradley

 7      from the wall of photos at Ingleside station the night of the murder, and her failure to pick out the

 8      photo of Jamal or David Trulove that night. I considered the circumstances of her subsequent

 9      identification of Trulove during the photo array procedure. I considered that choice of photos for

10      the procedure, in addition the words that Ms. Lualemaga used when picking out both Bradley and

11      Trulove. I made an independent determination that the identification procedures were lawful, fair,

12      competent, admissible and otherwise supported the prosecution of Trulove for the murder.

13   4. I was also aware of the circumstances of the identification by the second eyewitness, Latisha

14      Meadows-Dickerson. I chose not to call Ms. Meadows-Dickerson at trial, but I believed that her

15      identification of Trulove could corroborate Ms. Lualemaga’s identification of Trulove as the

16      murderer.

17   5. I did not rely on any representation by any officer concerning their interpretation of any of the

18      statements made by the witnesses, or the forensic evidence. I do not believe that any officer ever

19      represented to me that Ms. Lualemaga’s identification of plaintiff was either “positive” or

20      “tentative.” Even if they had, however, I made my own, independent evaluation to determine

21      whether it was lawful and competent and fair to use at trial. I determined that it was.

22   6. I spent time speaking to Ms. Lualemaga regarding her testimony prior to the first trial. I believed

23      her then, and I continue to believe her now, that she observed Trulove shoot Kuka.

24   7. After the jury convicted Trulove of the murder, I learned of the statement of Oliver Barcenas. In

25      summary, he stated that he observed two officers with a Somoan woman, pointing to a clip board,

26      saying something about Trulove, and Jeremiah or Jerome, and the woman saying “no” and crying,

27      on the night of the murder. I decided that Barcenas was not credible, and opposed Trulove’s

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     Case No. 16-cv-00050-YGR
          Case 4:16-cv-00050-YGR            Document 251        Filed 01/05/18      Page 3 of 4




 1      motion for a new trial based on this statement. The Court agreed that Barcenas was not credible.

 2      The Court of Appeal affirmed the denial of the new trial motion on that ground.

 3   8. After the Court reversed Trulove’s conviction, I personally made the decision to retry plaintiff,

 4      even knowing of Barcenas’ statement. I did not receive any pressure from any officer to retry

 5      Trulove. I do not believe that I even spoke with any officer when making my determination.

 6      Rather, I relied on the evidence, including the audio recordings of the identifications, and

 7      determined that the lawful, fair, competent evidence supported a conviction. I did not rely on any

 8      representations regarding the evidence; I made my own independent evaluation.

 9   9. I was aware of the location of the shell casings found at the scene. Even prior to this case, I was

10      aware that shell casing evidence rarely, if ever, definitively proves the location of the person

11      doing the shooting – there are too many other factors that can affect the final resting place of shell

12      casings, including the arm position and grip of the shooter. I did not believe that the shell casing

13      evidence provided sufficient information in this case to make any determination of specifically

14      where the shooter was standing, or movements of the shooter.

15   10. I do not believe that any officer made a specific representation to me regarding the evidentiary

16      value, or lack thereof, of the shell casings evidence prior to either trial. I made my own

17      independent evaluation. I determined that the shell casing evidence is not inconsistent with the

18      statements of the witnesses.

19   11. I did not ask Officer John Evans any questions at the first trial regarding the meaning of the shell

20      casing evidence. I do not believe that I even prepared him for those questions prior to the first

21      trial.

22   12. I knew during the second trial that Jim Norris, the former head of the San Francisco Crime Lab,

23      would be testifying concerning his interpretation of where the shooter must have been standing

24      based on the final location of the shell casings. I did not then, nor do I now, believe that his

25      opinion had sufficient evidentiary foundation to be reliable, must less the only conclusion that

26      could be drawn from the forensic evidence. I believe that too many unknown variables affect that

27      determination.

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     Case No. 16-cv-00050-YGR
              Case 4:16-cv-00050-YGR          Document 251         Filed 01/05/18      Page 4 of 4




 1    13. I do not believe that either Officer Evans or Ronan Shouldice ever represented to me that the shell

 2       casing evidence was either consistent with or inconsistent with the eyewitness testimony. I

 3       certainly do not recall them telling me prior to trial that the final resting place of shell casings is

 4       “random” and even if they had I believe that opinion to be valid, particularly here where the crime

 5       scene had many people present at and after the shooting. Their opinions about the forensic

 6       evidence did not change my belief regarding the strength of the merits of this case. In any case, I

 7       did not rely on their expert knowledge regarding shell casing evidence, including any

 8       representation they made about the meaning of such evidence in this case, to prosecute this

 9       matter. Rather, I made my own independent interpretation of the meaning of the evidence.

10

11            I declare under penalty of perjury under the laws of the State of California that the preceding

12   declaration is true and correct.

13   Dated:

14

15
                                                        LINDA ALLEN
16

17

18            I hereby attest that I have on file all holographic signatures corresponding to any signatures
19   indicated by a conformed signature (/S/) within this e-filed document.
20

21

22                                                   /s/ Margaret W. Baumgartner
                                                    MARGARET W. BAUMGARTNER
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      Case No. 16-cv-00050-YGR
